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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                     )
                                              )
        v.                                    )       CASE NO.: 1:12-CR-87-TLS
                                              )
 BRENTON ENNIS                                )

                                     OPINION AND ORDER

        The Defendant, Brenton Ennis, pled guilty to Robbery of Firearms and Money, in

 violation of 18 U.S.C. § 1951, and Use of a Firearm During and In Relation to a Crime of

 Violence, in violation of 18 U.S.C. § 924(c). Both offenses occurred on or about November 13,

 2012. An officer with the United States Probation Office prepared a Presentence Investigation

 Report (PSR) prior to the Defendant’s sentencing. According to the PSR, the Defendant’s total

 offense level is 26, and criminal history category is III. The United States Sentencing Guideline

 range corresponding to this offense level and criminal history category is 78 to 97 months of

 imprisonment for Count 1, and 10 years for Count 2 to run consecutively with Count 1.

        The Defendant objects to Paragraphs 54 and 56 of the PSR. In Paragraph 54, the PSR

 recommends adding one point to the Defendant’s criminal history calculation pursuant to United

 States Sentencing Guideline § 4A1.2(d)(2)(B) based upon the Defendant’s juvenile adjudication

 for “Possession of a Controlled Substance” in Allen County Superior Court, Indiana. In

 Paragraph 56, the PSR recommends adding one point to the Defendant’s criminal history

 calculation pursuant to § 4A1.2(d)(2)(B) based upon the Defendant’s juvenile adjudication for

 “Possession of Marijauna, or Hash” in Allen County Superior Court, Indiana.

        The Court overrules the Defendant’s objection because the PSR properly calculates the

 Defendant’s criminal history.
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                                            ANALYSIS

        Under U.S.S.G. § 4A1.1(c), one point is added to the total points used to determine a

 defendant’s criminal history category for each prior sentence that was not counted in § 4A1.1(a)

 and § 4A1.1(b), up to a total of four points. Guideline § 4A1.2(d)(2)(B) specifies that one point

 is added “for each adult or juvenile sentence imposed within five years of the defendant’s

 commencement of the instant offense” not counted in § 4A1.1(a). Application Note 7 to

 Guideline § 4A1.2 states:

        Section 4A1.2(d) covers offenses committed prior to age eighteen . . . for offenses
        committed prior to age eighteen, only those that resulted in adult sentences of
        imprisonment exceeding one year and one month, or resulted in imposition of an
        adult or juvenile sentence or release from confinement on that sentence within
        five years of the defendant’s commencement of the instant offense are counted.
        To avoid disparities from jurisdiction to jurisdiction in the age at which a
        defendant is considered a “juvenile,” this provision applies to all offenses
        committed prior to the age eighteen.

        The Defendant does not dispute that the adjudications for his juvenile offenses, as

 contained in Paragraphs 54 and 56 of the PSR, occurred on January 8, 2010, and February 23,

 2011, respectively—dates that fall within five years of the commission of the instant offense.

 Nonetheless, the Defendant argues that the court-imposed judgment for both

 offenses—“reprimanded and released” [ECF No. 68]—does not constitute a “sentence” under §

 4A1.2(d)(2)(A).

        The Court has an obligation to consider and accurately calculate the advisory guideline

 range using the Sentencing Guidelines and 18 U.S.C. § 3553(a). See United States v. Carter, 408

 F.3d 852, 854 (7th Cir. 2005). When determining what constitutes a “prior sentence” under the

 Sentencing Guidelines, a court must look to federal, not state law. See, e.g., U.S. v. McKoy, 452

 F.3d 234, 237 (3d. Cir. 2006); United States v. Morgan, 390 F.3d 1072, 1074 (8th Cir. 2004);

                                                 2
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 United States v. Williams, 176 F.3d 301, 311 (6th Cir.1999); United States v. Gray, 177 F.3d 86,

 93 (1st Cir.1999). Under federal law, “prior sentence” is defined as “any sentence previously

 imposed upon adjudication of guilt, whether by guilty plea, trial, or plea of nolo contendere, for

 conduct not part of the instant offense.” U.S.S.G. § 4A1.2(a)(1) (emphasis added); see also

 Black’s Law Dictionary 1362 (6th ed. 1990) (a sentence is a “judgment of court formally

 advising accused of legal consequences of guilt which he has confessed or of which he has been

 convicted.”).

        Here, state court records indicate that the Defendant entered an admission of guilt for

 each offense, which resulted in an adjudication of guilt and a judgment of “reprimand[] and

 release[].” The legal consequences of the Defendant’s adjudication of guilt was a reprimand.

 Accordingly, the Defendant received a “sentence” under federal law.1 Because the Defendant’s

 juvenile sentences occurred within five years of the commencement of the instant offense, the

 PSR properly added one point for each juvenile offense under § 4A1.2(d)(2)(B).

                                          CONCLUSION

        For the foregoing reasons, the Court OVERRULES the Defendant’s objection to the two-

 points added to the Defendant’s criminal history calculation for juvenile offenses, as contained in

 Paragraphs 54 and 56 of the PSR. Sentencing scheduled for December 2, 2014, at 1:00 PM, is

 CONFIRMED.

        SO ORDERED on November 18, 2014.



        1
         The Defendant also appears to argue that § 4A1.2(d)(2)(B) is not applicable because he was
         not sentenced to a term of confinement. But as noted in Application Note 7 to § 4A1.2,
         even a sentence that does not result in confinement constitutes a “sentence” under §
         4A1.2(d)(2)(B).

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                                              s/ Theresa L. Springmann
                                              THERESA L. SPRINGMANN
                                              UNITED STATES DISTRICT COURT




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